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                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE SOUTHERN DISTRICT OF FLORIDA

  ROBERT W. OTTO, PH.D. LMFT,                   )
  individually and on behalf of his patients,   )
  JULIE H. HAMILTON, PH.D., LMFT,               )
  individually and on behalf of her patients,   )      Civil Action No.:
                                                )
                         Plaintiffs,            )      INJUNCTIVE RELIEF SOUGHT
  v.                                            )
                                                )
  CITY OF BOCA RATON, FLORIDA,                  )
  and COUNTY OF PALM BEACH,                     )
  FLORIDA,                                      )
                                                )
                         Defendants             )

              VERIFIED COMPLAINT FOR DECLARATORY, PRELIMINARY
                AND PERMANENT INJUNCTIVE RELIEF, AND DAMAGES

         For their VERIFIED COMPLAINT against Defendants CITY OF BOCA RATON,

  FLORIDA (“City”) and COUNTY OF PALM BEACH, FLORIDA (“County”) (collectively

  “Defendants”), ROBERT W. OTTO, PH.D. LMFT (“Dr. Otto”), and JULIE HAMILTON, PH.D.,

  LMFT (“Dr. Hamilton”) (collectively “Plaintiffs”), by and through the undersigned counsel, allege

  and aver as follows:

                                         INTRODUCTION

         1.      Since time immemorial, the relationship between clients and their licensed mental

  health professionals has represented a sacred trust. In this vital relationship, mental health

  professionals are tasked with providing essential care to their clients and forming critical

  therapeutic alliances that represent the unique relationship between professional and client. This

  therapeutic alliance is designed to facilitate the foundational principle of all mental health

  counseling: the client’s fundamental right to self-determination. Throughout the history of this

  learned profession, clients have provided mental health professionals with their goals, desires, and
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  objectives that conform to their sincerely held desires and concept of self, and mental health

  professionals have provided counseling that aligns with the clients’ fundamental right to self-

  determination. That unique relationship has, until now, been protected, revered, and respected as

  sacrosanct and inviolable. Now, Defendants have seen fit to storm the office doors of mental health

  professionals, thrust themselves into the therapeutic alliance, violate the sacred trust between client

  and counselor, and run roughshod over the fundamental right of client self-determination and the

  counselors’ cherished First Amendment liberties. Defendants’ purported justifications for such

  unconscionable actions: they do not like the goals, objectives, or desires of certain clients when it

  comes to one type of counseling. The First Amendment demands more, and Defendants’ actions

  have caused, are causing, and will continue to cause irreparable injury to Plaintiffs’ fundamental

  and cherished liberties.

          2.      Plaintiffs bring this civil action to challenge the constitutionality of Boca Raton

  City Ordinance 5407, “Prohibition Of Conversion Therapy On Minors,” (“City Ordinance”) and

  Palm Beach County Ordinance 2017-046, “Prohibition Of Conversion Therapy On Minors,”

  (“County Ordinance”) (collectively “the Ordinances”) to prevent the Ordinances from violating

  their respective federal and state constitutional guarantees of Freedom of Speech, Free Exercise of

  Religion, and the corresponding rights of their minor patients. The City Ordinance came into full

  effect immediately upon adoption on October 10, 2017, and the County Ordinance came into full

  effect immediately upon being filed with the Department of State on December 21, 2017. Thus,

  time is of the essence because Plaintiffs and their clients have suffered, are currently suffering, and

  will continue to suffer immediate and irreparable injury to their most cherished constitutional

  liberties absent injunctive relief.




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         3.      Plaintiffs engage in licensed, ethical, and professional counseling that honors their

  clients’ autonomy and right to self-determination, that permits clients to prioritize their religious

  and moral values above unwanted same-sex sexual attractions, behaviors, or identities, and that

  enables clients to align their values with a licensed counselor who can address these values.

  Plaintiffs have First Amendment and state constitutional rights as licensed counselors to engage in

  and provide counseling consistent with their and their clients’ sincerely held religious beliefs, and

  their clients have First Amendment and state constitutional rights to receive such counseling free

  from Defendants’ viewpoint discrimination against such counseling.

         4.      By preventing minors from seeking counseling to address the conflict about or

  questions concerning their unwanted same-sex sexual attractions, behaviors, and identities and

  from seeking to reduce or eliminate their unwanted same-sex sexual attractions, behaviors, or

  identities through counseling, such as sexual orientation change efforts (“SOCE”), the Ordinances

  deny or severely impair Plaintiffs’ clients and all minors their right to self-determination, their

  right to prioritize their religious and moral values, and their right to receive effective counseling

  consistent with those values.

         5.      By denying Plaintiffs’ clients and all minors access to counseling from licensed

  counselors that can best help minors who desire to reduce or eliminate their unwanted same-sex

  attractions, behaviors, or identity, the Ordinances infringe on the fundamental rights of Plaintiffs’

  clients, and the rights of the parents of Plaintiffs’ clients to direct the upbringing and education of

  their children, which includes the right to meet each child’s individual counseling, developmental,

  and spiritual needs.

         6.      By prohibiting them from engaging in any efforts that seek to eliminate or reduce

  unwanted same-sex attractions, behaviors, or identity, even when the client, the parents, and the




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  licensed mental health professional all consent to such counseling, the Ordinances also violate the

  Plaintiffs’ constitutional rights.

          7.      Despite the value and benefit that Plaintiffs have provided by offering SOCE

  counseling, the Ordinances prohibit SOCE counseling to minors by licensed professionals, which

  is causing immediate and irreparable harm to Plaintiffs and Plaintiffs’ clients.

          8.      The Ordinances harm licensed counselors and their clients by prohibiting minors

  and their parents from obtaining the counseling services they choose, after receiving full disclosure

  and providing informed consent, to resolve, reduce, or eliminate unwanted same-sex sexual

  attractions, behaviors, or identity and harms counselors by placing them in a Catch-22 in which

  they will be forced to choose between violating ethical codes by complying with the Ordinances

  or violating the law by failing to comply with the Ordinances.

          9.      By denying minors the opportunity to pursue a particular course of action that can

  most effectively help them address the conflicts between their sincerely held religious beliefs and

  goals to reduce or eliminate their unwanted same-sex attractions, behaviors, or identity, the

  Ordinances are causing those minors confusion and anxiety over same-sex sexual attractions,

  behaviors, and identity and infringing on their free speech and religious liberty rights.

          10.     Plaintiffs seek preliminary and permanent injunctive relief against Defendants,

  their agents, servants, departments, divisions, employees, and those acting in concert and with

  actual notice, enjoining the enforcement of the Ordinances because they violate: (1) the rights of

  Plaintiffs and their clients to freedom of speech and free exercise of religion, guaranteed by the

  First and Fourteenth Amendments to the United States Constitution, (2) the rights of Plaintiffs to

  liberty of speech and free exercise and enjoyment of religion, guaranteed by Article I, §§3, 4 of

  the Florida Constitution, (3) the Florida Patient’s Bill of Rights and Responsibilities, Fla. Stat.




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  Ann. §381.026, and (4) and the Florida Religious Freedom Restoration Act, Fla. Stat. Ann.

  § 761.03.

         11.     Plaintiffs also seek preliminary and permanent injunctive relief enjoining

  Defendants from enforcing the Ordinances because the Ordinances are void ab initio as ultra vires

  acts in excess of the City’s and County’s authority under Article VIII, Section 2(b) and Article

  VII, Section 1, respectively, of the Florida Constitution.

         12.     Plaintiffs also pray for declaratory relief from this Court declaring that the

  Ordinances, both on their face and as-applied, are unconstitutional violations of the First and

  Fourteenth Amendments to the United States Constitution, are void ab initio as ultra vires acts in

  excess of the City’s and County’s authority under Article VIII, Section 2(b) and Article VII,

  Section 1, respectively, of the Florida Constitution, violated Plaintiffs and their clients rights under

  the Florida Patient’s Bill of Rights and Responsibilities, Fla. Stat. Ann. §381.026, and violated the

  Florida Religious Freedom Restoration Act, Fla. Stat. Ann. § 761.03.

         13.     An actual controversy exists between the parties involving substantial

  constitutional issues, in that the Ordinances, both facially and as-applied by the City and County

  violate Plaintiffs and their clients’ rights to free speech and free exercise under the First

  Amendment.

                                                PARTIES

         14.     Plaintiff, Robert W. Otto, Ph.D., LMFT, is a licensed marriage and family therapist

  who is licensed to practice mental health counseling in Florida.

         15.     Plaintiff, Julie Hamilton, Ph.D., LMFT, is a licensed marriage and family therapist

  who is licensed to practice mental health counseling in Florida.




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          16.     Defendant, City of Boca Raton, is a municipal corporation and political subdivision

  of the State of Florida, with authority to sue and be sued.

          17.     Defendant, County of Palm Beach, is a political subdivision of the State of Florida

  with authority to sue and be sued.

                                     JURISDICTION AND VENUE

          18.     This action arises under the First and Fourteenth Amendments to the United States

  Constitution and is brought pursuant to 42 U.S.C. §1983. This action also arises under Article I,

  §§3, 4 of the Florida Constitution, the Florida Patient’s Bill of Rights and Responsibilities, Fla.

  Stat. Ann. § 381.026, and the Florida Religious Freedom Restoration Act, Fla. Stat. Ann. § 761.03.

          19.     This Court has jurisdiction under 28 U.S.C. §§1331, 1343, and 1367.

          20.     Venue is proper in this Court under 28 U.S.C. §1391(b) because the City and

  County are situated in this judicial district, and a substantial part of the events or omissions giving

  rise to Plaintiffs’ claims occurred in this district.

          21.     This Court is authorized to grant declaratory judgment under the Declaratory

  Judgment Act, 28 U.S.C. §2201-02, implemented through Rule 57 of the Federal Rules of Civil

  Procedure, and is authorized to grant injunctive relief pursuant to Rule 65 of the Federal Rules of

  Civil Procedure.

          22.     This Court is authorized to grant Plaintiffs’ prayer for relief regarding costs,

  including a reasonable attorney’s fee, pursuant to 42 U.S.C. §1988.

                                      GENERAL ALLEGATIONS

          A.      THE CITY ORDINANCE.

          23.     On October 10, 2017, the Boca Raton City Council enacted Ordinance 5407 (“City

  Ordinance”), which created Article VI in Chapter 9 “Miscellaneous Offenses” of the Code of




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  Ordinances. A copy of the City Ordinance is attached hereto as EXHIBIT A and incorporated

  herein.

            24.    The City Ordinance immediately went into effect upon its adoption and approval.

  (See Exhibit A at 7) (“this Ordinance shall take effect immediately upon adoption”).

            25.    Section 9-106 of the City Ordinance states that “[i]It shall be unlawful for any

  provider to practice conversion therapy on any individual who is a minor regardless of whether

  the provider receives monetary compensation in exchange for such services. (Ex. A at 7).

            26.    Section 9-105(a) of the City Ordinance defines “conversion therapy or reparative

  therapy” as:

            interchangeably, any counseling, practice or treatment performed with the goal of
            changing an individual’s sexual orientation or gender identity, including, but not
            limited to, efforts to change behaviors, gender identity, or gender expression, or to
            eliminate or reduce sexual or romantic attractions or feelings toward individuals of
            the same gender or sex. Conversion therapy does not include counseling that
            provides support and assistance to a person undergoing gender transition or
            counseling that provides acceptance, support, and understanding of a person or
            facilitates a person’s coping, social support, and development, including sexual
            orientation – neutral interventions to prevent or address unlawful conduct or unsafe
            sexual practices, as long as such counseling does not seek to change sexual
            orientation or gender identity.

  (Ex. A at 6).

            27.    Section 9-105(c) of the City Ordinance defines “Provider” as:

            any person who is licensed by the State of Florida to provide professional
            counseling, or who performs counseling as part of his or her professional training
            under chapters 456, 458, 459, 490 or 491 of the Florida Statutes, as such chapters
            may be amended, including but not limited to, medical practitioners, osteopathic
            practitioners, psychologists, psychotherapists, social workers, marriage and family
            therapists, and licensed counselors.

  (Ex. A at 6).




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         28.     Section 9-107 of the City Ordinance states that “[a]ny person that violates any

  provision of this article shall be subject to the civil penalty prescribed in section 1-16 and in no

  instance shall a violation of this article be punishable by imprisonment.” (Ex. A at 7).

         29.     The civil penalty prescribed in Section 1-16 of the Code of Ordinances provides:

                 Whenever in this Code or in any ordinance of the city any act is prohibited
                 or is made or declared to be unlawful or an offense, or whenever in such
                 Code or ordinance the doing of any act is required or the failure to do any
                 act is declared to be unlawful, where no specific penalty is provided
                 therefor, the violation of any such provision of the Code or any ordinance
                 shall be punished by a fine not exceeding $500.00 or imprisonment for a
                 term not exceeding 60 days, or by both such fine and imprisonment. Each
                 day any violation of any provision of this Code or of any ordinance
                 continues shall constitute a separate offense.

         B.      THE COUNTY ORDINANCE.

         30.     On December 19, 2017, the Board of County Commissioners of Palm Beach

  County enacted Ordinance 2017-046 (“County Ordinance”). A copy of the County Ordinance is

  attached hereto as EXHIBIT B and incorporated herein.

         31.     The County Ordinance went into effect upon its filing with the Department of State

  on December 21, 2017. (See Exhibit B at 7).

         32.     Section 5 of the County Ordinance states that “[i]t shall be unlawful for any

  provider to practice conversion therapy on any individual who is a minor regardless of whether

  the provider receives monetary compensation in exchange for such services. (Ex. B at 5).

         33.     Section 4 of the County Ordinance defines “conversion therapy” as:

         the practice of seeking to change an individual’s sexual orientation or gender
         identity, including but not limited to efforts to change behaviors, gender identity,
         or gender expressions or to eliminate or reduce sexual or romantic attractions or
         feelings toward individuals of the same gender or sex. Conversion therapy does not
         include counseling that provides support and assistance to a person undergoing
         gender transition, or counseling that: provides acceptance, support, and
         understanding of a person or facilitates a person's coping, social support, and
         identity exploration and development, including sexual-orientation-neutral



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         interventions to prevent or address unlawful conduct or unsafe sexual practices; and
         does not seek to change an individual's sexual orientation or gender identity.

  (Ex. B at 5).

         34.        Section 4 of the County Ordinance defines “Provider” as:

                    any person who is licensed by the State of Florida to perform counseling
                    pursuant to Chapters 456, 458, 459, 490 or 491 of the Florida Statutes as
                    such chapters may be amended, including but not limited to medical
                    practitioners, osteopathic practitioners, psychologists, psychotherapists,
                    social workers, marriage and family therapists, and licensed counselors, or
                    a person who performs counseling as part of the person’s professional
                    training for any of these professions.
  (Ex. B at 5).

         35.        Section 6 of the County Ordinance states that: “pursuant to section 125.69, Florida

  Statutes, a violation of this ordinance shall be prosecuted in the same manner as misdemeanors are

  prosecuted. A violation of any provision of this Ordinance shall be punished by a fine of $250.00

  for the first violation and $500.00 for each repeat violation. (Ex. B at 5).

         36.        Section 7 of the County Ordinance states:

         In addition to the penalties set forth in Section 6 of this Ordinance, pursuant to
         section 125.69(4), Florida Statutes, this Ordinance is enforceable by the County's
         Code Enforcement Officers and by all means provided by law. Additionally, Palm
         Beach County may choose to enforce this Ordinance by seeking injunctive relief in
         the Circuit Court of Palm Beach County.

  (Ex. B at 5-6).

         37.        Section 3 of the County Ordinance provides: “This Ordinance shall be applicable

  within the unincorporated areas of Palm Beach County, and in all municipalities that have not

  adopted an ordinance in conflict. Unless otherwise provided, nothing in this Ordinance shall be

  construed to relieve any person from compliance with any applicable county or municipal

  regulations.” (Ex. B at 4).




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          C.      RESEARCH ON SOCE COUNSELING.

          38.     The City Ordinance references the Report of the 2009 American Psychological

  Association’s Task Force on Appropriate Therapeutic Responses to Sexual Orientation (“APA

  Report”) for the proposition that SOCE counseling is harmful and both the City and County

  Ordinances reference the APA Resolution issued following the APA Report. (Ex. A at 2; Ex. B at

  1).

          39.     Defendants’ use of the APA Report and Resolution as proof of harm caused by

  SOCE counseling misrepresents the findings of the report and ignores the substantial limitations

  the APA Report noted extensively throughout its findings. A copy of the APA Report is attached

  hereto as EXHIBIT C and incorporated herein.

          40.     The APA Report specifically noted that “sexual orientation issues in children are

  virtually unexamined.” (Ex. C at 91) (emphasis added).

          41.     The APA Report stated that “[t]here is a lack of published research on SOCE among

  children.” (Id. at 72).

          42.     The APA Report also noted that it could make no conclusions about SOCE

  counseling for those adolescents who request such counseling. (Id. at 73) (“We found no

  empirical research on adolescents who request SOCE.”); (id. at 76) (noting that its conclusions are

  not based on specific studies from individuals, including minors, who request SOCE counseling

  and stating that its conclusions were thus necessarily limited).

          43.     The APA Report also concluded that “there is a dearth of scientifically sound

  research on the safety of SOCE. Early and recent research studies provide no clear indication

  of the prevalence of harmful outcomes.” (Id. at 42) (emphasis added).




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          44.     But, from the research the APA Report examined, it found evidence of benefits

  achieved from SOCE counseling, while noting that there was “some” evidence of certain harm for

  others. (Id. at 91).

          45.     Because it noted that there was evidence of benefits for some, the APA Report

  concluded that “it is still unclear which techniques or methods may or may not be harmful.” (Id.).

          46.     The APA Report also specifically noted that “for some, sexual orientation identity

  [is] fluid or has an indefinite outcome.” (Id. at 2).

          47.     In fact, the APA Report found among its studies that “[s]ome individuals report that

  they went on to lead outwardly heterosexual lives, developing a sexual relationship with an other-

  sex partner, and adopting a heterosexual identity.” (Id. at 3).

          48.     The APA Report does not support Defendants’ conclusions that SOCE counseling

  causes harm to minors and therefore justifies Defendants’ efforts to ban SOCE counseling.

          49.     The APA Report itself is also highly partisan and politicized as a result of its

  researchers. Although many qualified conservative psychologists were nominated to serve on the

  task force, all of them were rejected.

          50.     The director of the APA’s Lesbian, Gay and Bisexual Concerns Office, Clinton

  Anderson, stated that such practitioners were rejected because the group could not take into

  account what are fundamentally negative religious perceptions of homosexuality because they do

  not fit into the APA’s worldview.

          51.     In seeking to reach conclusions in the APA Report, the APA operated with a litmus

  test when considering task force membership—the only views of homosexuality that were

  tolerated were those that uniformly endorsed same-sex behavior as a moral good. Thus, from the




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  outset of the task force, it was predetermined that conservative or religious viewpoints would only

  be acceptable when they fit within their pre-existing worldview.

         52.     One example of this is the APA Report’s failure to recommend any religious

  resources that adopt a traditional or conservative approach to addressing conflicts between

  religious beliefs and sexual orientation. This bias can hardly be said to respect religious diversity

  and had predictable consequences for how the task force addressed its work.

         53.     The APA Report contains a significant contrast between the exceptionally rigorous

  methodological standards applied to SOCE outcomes and the considerably less rigorous and

  uneven standards applied to the question of harm. With regard to SOCE outcomes, the APA Report

  dismisses most of the relevant research because of methodological limitations, which are outlined

  in great detail (Ex. C at 26-34).

         54.     Studies pertaining to SOCE outcomes that fall short of the task force’s rigorous

  standards were deemed unworthy of examination and dismissed as containing no evidence of value

  to the questions at hand. But, the APA Report appears to adopt very different evidentiary standards

  for making statements about alleged harms attributed to SOCE.

         55.     The standard as regards efficacy ruled out allegedly substandard studies as

  irrelevant; however, no such efficacy standards were employed in considering studies purporting

  to document harm. Additionally, the APA Report uses the absence of evidence to argue that SOCE

  is unlikely to produce change and thus strongly questions the validity of SOCE, but shows no

  parallel reticence to endorse affirmative therapy despite acknowledging that such therapy “has not

  been evaluated for safety and efficacy” (Ex. C at 91).

         56.     Dr. Nicolas Cummings, former president of the American Psychological

  Association, has also noted that SOCE counseling can provide enormous benefits. A copy of Dr.




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  Cummings article discussing SOCE counseling is attached hereto as EXHIBIT D and incorporated

  herein.

            57.   Dr. Cummings noted that Defendants’ premise for adopting the Ordinances is

  damaging and incorrect. (See Ex. D. at 1) (“The sweeping allegation that [SOCE counseling] must

  be a fraud because homosexual orientation can’t be changed is damaging.”).

            58.   Dr. Cummings personally counseled countless individuals in his years of mental

  health practice, and he reported that hundreds of those individuals seeking to reduce or eliminate

  their unwanted same-sex attractions, behaviors, or identity were successful. (Id.) (“Of the patients

  I oversaw who sought to change their orientation, hundreds were successful.” (emphasis added)).

            59.   Dr. Cummings said that the assertion that same-sex sexual attractions, behaviors,

  or identity is one identical inherited characteristic is unsupported by scientific evidence and that

  “contending that all same-sex attraction is immutable is a distortion of reality.” (Id. at 2)

  (emphasis added).

            60.   Dr. Cummings went on to criticize efforts to prohibit SOCE counseling as violative

  of the client’s right to self-determination and therapeutic choice. (Id.) (“Attempting to characterize

  all sexual reorientation therapy as unethical violates patient choice and gives an outside party a

  veto over patients’ goals for their own treatment.”).

            61.   Dr. Cummings concluded that “[a] political agenda shouldn’t prevent gays and

  lesbians who desire to change from making their own decisions.” (Id.).

            62.   Dr. Cummings concluded by condemning political efforts to prohibit SOCE

  counseling as harmful to clients and counselors. (Id.) (“Whatever the situation at an individual

  clinic, accusing professionals from across the country who provide treatment to fully informed




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  persons seeking to change their sexual orientation of perpetrating a fraud serves only to stigmatize

  the professional and shame the patient.” (emphasis added)).

         63.      The American College of Pediatricians has noted that the political position

  statements of numerous mental health organizations, including many relied upon by the City here,

  have “no firm basis” in evidentiary support. A copy of the American College of Pediatricians

  statement on SOCE counseling is attached hereto as EXHIBIT E and incorporated herein.

         64.      The American College of Pediatricians noted that, “[t]he scientific literature,

  however, is clear: Same-sex attractions are more fluid than fixed, especially for adolescents—

  many of whom can and do change.” (Ex. E) (emphasis added).

         65.      The American College of Pediatricians also noted that “there is a body of literature

  demonstrating a variety of positive outcomes from SOCE.” (Id.).

         66.      Like Dr. Cummings, the American College of Pediatricians concluded that SOCE

  counseling is beneficial and that laws, such as the Ordinances here, that prohibit such counseling

  serve only to impose harm on minors who seek it. (Id.) (“Banning change therapy or SOCE will

  threaten the health and well-being of children wanting therapy.”).

         67.      The City and County claim that the Ordinances are necessary to protect the health,

  safety and welfare of minors living within their jurisdictions.

         68.      Section 9.104 of the City Ordinance provides:

         The Intent of this Ordinance is to protect the physical and psychological well- being
         of minors, including but not limited to lesbian, gay, bisexual, transgender and/ or
         questioning youth, from exposure to the serious harms and risks caused by
         conversion therapy or reparative therapy by licensed providers, including but not
         limited to licensed therapists. These provisions are exercises of the police power of
         the City for the public safety, health, and welfare; and its provisions shall be
         liberally construed to accomplish that purpose.

  (Ex. A at 6).




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         69.      Section 1 of the County Ordinance provides:

         The intent of this Ordinance is to protect the physical and psychological well-being
         of minors, including but not limited to lesbian, gay, bisexual, transgender and/or
         questioning youth, from exposure to the serious harms and risks caused by
         conversion therapy or reparative therapy by licensed providers, including but not
         limited to licensed therapists and the unlicensed individuals who perform
         counseling as part of professional training to become a licensed provider. This
         Ordinance is an exercise of the County’s police power for the benefit of the public
         health, safety, and welfare; and its sections are to be liberally construed to
         accomplish that purpose.

  (Ex. B at 4).

         70.      Despite the City and County’s assertion that SOCE counseling causes serious

  harms and risks, in fact the Board of Medical Quality Assurance for the State of Florida has no

  records of any complaints against any licensed professionals in the State of Florida related to

  SOCE counseling, “conversion therapy” or “reparative therapy.” A true and correct copy of the

  response from the Board of Medical Quality Assurance to a public records request seeking such

  records is attached, marked as EXHIBIT F and incorporated herein.

         D.       VOLUNTARY SOCE COUNSELING PROVIDED BY PLAINTIFFS.

         71.      Many of the position statements and studies referenced in the Ordinances

  improperly attempt to conflate involuntary, forced practices allegedly used by some in the past

  with the practices that Plaintiffs, along with all ethical SOCE practitioners, use in their counseling

  and therapy practices with clients who wish to reduce or eliminate same-sex sexual attractions,

  behaviors, or identity. The Ordinances indiscriminately ban both types.

         72.      Plaintiffs do not engage in aversive techniques, nor are they aware of any

  practitioner who engages in such practices with clients seeking to reduce or eliminate their

  unwanted same-sex attractions, behaviors, or identity.




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          73.     In their practices, Plaintiffs help clients with their unwanted same-sex attractions,

  behaviors, and identity by talking with them about root causes, about gender roles and identities,

  and about their anxieties and confusion that arises from these attractions.

          74.     Speech is the only tool that Plaintiffs use in their counseling with minors seeking

  to reduce or eliminate their unwanted same-sex attractions, behaviors, or identity. The only thing

  that happens in their counseling sessions is speech. They sit down with their clients and talk to

  their clients about the clients’ goals, objectives, religious beliefs, desires, and identity.

          75.     Throughout the Ordinances, the position statements refer to SOCE counseling as

  that counseling with the single goal of changing an individual’s sexual orientation or gender

  identity. But, Plaintiffs do not begin counseling with any predetermined goals other than those that

  the clients themselves identify and set. This is consistent with the clients’ fundamental right of

  self-determination.

          76.     Plaintiffs employ speech to help clients understand and identify their anxiety or

  confusion regarding their attractions, behaviors, or identity and then to help the client formulate

  the method of counseling that will most benefit that particular client.

          77.     Often times, a client is not ready or does not desire to immediately begin to seek to

  reduce or eliminate their unwanted same-sex attraction, behaviors, or identity. When that is the

  case, Plaintiffs focus on helping the client and parents to heal any wounds or frustrations and to

  begin to work on loving and accepting the minor client despite any challenges that arise from the

  unwanted same-sex attractions, behaviors, or identity.

          78.     The presumption of the Ordinances that all such counseling from Plaintiffs is

  premised on the notion that homosexuality is an illness, defect, or shortcoming does not accurately




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  reflect Plaintiffs’ practices, and it ignores the fact that Plaintiffs seek to treat the anxiety and

  confusion that arises from a client’s unwanted same-sex attractions, behaviors, or identity.

          79.     The presumption of the Ordinances that Plaintiffs seek to “cure” a client of same-

  sex attractions is false, because Plaintiffs seek only to assist a client with their stated desires and

  objectives in counseling, which sometime include reducing or eliminating the client’s unwanted

  same-sex attractions.

          80.     The presumption of the Ordinances that SOCE counseling and Plaintiffs view

  homosexuality as an “illness” does not reflect the truth of such counseling, and it ignores the point

  of mental health counseling in general.

          81.     The only relevant consideration in Plaintiffs’ counseling is that same-sex

  attractions, behaviors, or identity are an adaption that the client has anxiety or distress over, and

  that the client seeks to eliminate that anxiety or distress.

          82.     This is the same relevant consideration in all forms of mental health counseling,

  and is true of many things that clients seek counseling for, including many that are not mental

  illnesses but that nevertheless impose great stress, anxiety, confusion, or grief on the client

          E.      CURRENT ETHICAL OBLIGATIONS PROTECTING MINOR CLIENTS
                  IN MENTAL HEALTH COUNSELING.

          83.     The City Ordinance falsely asserts that there are no other effective means, including

  state statutes, to protect minors from the purported harms of SOCE counseling. (Ex. A at 4).

          84.     Licensed marriage and family therapists, such as Dr. Otto and Dr. Hamilton, are

  already prohibited by law from engaging in false, deceptive, or misleading advertisements relating

  to their practice of marriage and family therapy. Fla. Stat. Ann. § 491.009(1)(d).

          85.     Licensed marriage and family therapists, such as Dr. Otto and Dr. Hamilton, are

  already prohibited from “[m]aking misleading, deceptive, untrue, or fraudulent representations in



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  the practice of any profession licensed, registered, or certified” by Florida’s Marriage and Family

  Therapy Board. Fla. Stat. Ann. § 491.009(1)(l).

         86.     Licensed marriage and family therapists, such as Dr. Otto and Dr. Hamilton, are

  already prohibited by law from engaging in any practice that is harmful to clients or patients, such

  as “[f]ailing to meet minimum standards of performance in professional activities when measured

  against generally prevailing peer performance.” Fla. Stat. Ann. 491.009(1)(r).

         87.     Licensed marriage and family therapists, such as Dr. Otto and Dr. Hamilton, are

  already prohibited by law from violating other ethical regulations governing the practice of

  marriage and family therapy. Fla. Stat. Ann. § 491.001(1)(t).

         88.     Failure of licensed marriage and family therapists, such as Dr. Otto and Dr.

  Hamilton, to abide by the legal requirements imposed upon them by Florida law or other ethical

  regulations subjects them to significant fines, suspension of licensing, and permanent revocation

  of licensing depending on the nature and extent of the violation. Fla. Admin. Code § 64B4-5.001.

         89.     Other ethical regulations imposed upon marriage and family therapists, such as the

  American Association of Marriage and Family Therapists Code of Ethics (“AAMFT Code”),

  prohibit licensed marriage and family therapists from engaging in practices that harm clients or

  patients, and also prohibit them from refusing to recognize their clients’ right to self-determination

  and informed consent.

         90.     Standard 1 of the AAMFT Code requires that licensed marriage and family

  therapists, such as Dr. Otto and Dr. Hamilton, “advance the welfare of families and individuals

  and make reasonable efforts to find the appropriate balance between conflicting goals.”




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          91.    Standard 1.1 of the AAMFT Code prohibits licensed marriage and family

  therapists, such as Dr. Otto and Dr. Hamilton, from discriminating against clients based on their

  sexual orientation or gender identity.

          92.    Standard 1.2 of the AAMFT Code mandates that licensed marriage and family

  therapists, such as Dr. Otto and Dr. Hamilton, obtain “appropriate informed consent to therapy or

  related procedures” and that they inform the clients regarding all information necessary for the

  client to make such a decision.

          93.    Standard 1.8 of the AAMFT Code requires licensed marriage and family therapists,

  such as Dr. Otto and Dr. Hamilton, to “respect the rights of clients to make decisions and help

  them understand the consequences of these decisions.”

          94.    Standard 1.9 of the AAMFT Code prohibits licensed marriage and family

  therapists, such as Dr. Otto and Dr. Hamilton, from continuing any therapeutic relationship if it

  becomes reasonably clear that the clients are not benefitting from the relationship.

          95.    Thus, existing Florida law regulating licensed professionals and the other ethical

  obligations imposed upon such counselors, coupled with the absence of records of any complaints

  of harm related to SOCE counseling, demonstrate that the City’s and County’s stated rationales

  for adopting the Ordinances are fallacious, pretextual and unsupported by any governmental

  interest.

          F.     VAGUENESS PROBLEMS WITH THE ORDINANCES.

          96.    Despite the Ordinances’ presumptions that same-sex attractions, behaviors, or

  identity are easily understandable and measurable, it is widely understood that there are actually

  tremendous difficulties in measuring sexual orientation or gender identity.




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         97.     Because of the difficulty in measuring sexual orientation or gender identity, the

  prohibitions in the Ordinances are hopelessly vague and leave Plaintiffs guessing at what practices

  are permitted or prohibited.

         98.     Even in Defendants’ own cited study, the APA Report, the difficulty in

  understanding exactly what is prohibited by the Ordinance is recognized. The APA Report states

  that “[s]ame-sex sexual attractions occur in the context of a variety of sexual orientations and

  sexual orientation identities, and for some, sexual orientation identity (i.e., individual or group

  membership and affiliation, self-labeling) is fluid or has an indefinite outcome.” (Ex. C at 2

  (emphasis added)).

         99.     The Ordinances prohibit Plaintiffs under any circumstances from engaging in any

  practice that seeks to reduce or eliminate same-sex sexual attractions, behaviors, or identity. This

  prohibition is virtually impossible for Plaintiffs to comply with because it is well understood in

  the mental health profession, and conceded by Defendants’ own references, that sexual orientation

  and gender identity are difficult to define and encompass a number of factors, including behavior,

  practices, identity, attractions, sexual fantasy, romantic attractions, and erotic desires.

         100.    Given that sexual orientation is considered “fluid,” even among the references the

  Defendants cite in the Ordinances, Plaintiffs are left to guess at what counseling practices might

  constitute a violation of the Ordinance.

         101.    The Ordinances do not specify which clients would be classified as seeking to

  “change” and those that would merely be deemed conforming their behavior with their original

  “sexual orientation.” As Plaintiffs’ clients do not always immediately present wanting to “change,”

  they are left to guess at which point any of their counseling practices would be deemed to constitute

  efforts to reduce or eliminate unwanted same-sex attractions.




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          102.   Sexual orientation is also nearly impossible to measure, and there is no agreement

  on whether sexual orientation is a categorical construct or exists on a continuum. A client’s

  motives, attractions, identification, and behaviors vary over time and circumstances with respect

  to one another, which makes them dynastically changing features of an individual’s concept of self

  and sexual orientation.

          103.   Despite the difficulty in measuring sexual orientation and its fluid and changing

  nature, Plaintiffs must now put their professional licenses in jeopardy when even discussing

  something that could be perceived as “changing” sexual orientation or identity.

          104.   The Ordinances also permit licensed counselors to provide counseling that provides

  “acceptance, support, and understanding” of a client’s unwanted same-sex attractions, behaviors,

  or identity. This presents another major source of confusion, uncertainty, and vagueness for

  Plaintiffs.

          105.   Under the Ordinances, it is impossible for Plaintiffs to provide acceptance and

  support to a client who comes in for counseling and requests assistance in seeking to eliminate

  unwanted same-sex attractions, behaviors, or identity.

          106.   Many of Plaintiffs’ clients do not initially request counseling to specifically reduce

  or eliminate their unwanted same-sex attractions, behaviors, or identity, but instead want help and

  counseling to understand the sources, causes, and origins of their anxiety over such feelings.

          107.   During the course of such counseling, and without ever specifically setting out to

  reduce or eliminate unwanted same-sex attractions, behaviors, or identity, many clients will

  experience a change in their sexual attractions, behaviors, or identity, and this is true despite never

  specifically seeking to experience such a change or eliminate their unwanted feelings.




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         108.    Plaintiffs are left to guess at whether counseling simply discussing the confusion,

  anxiety, conflict, or stress a client feels about their unwanted same-sex attractions, behaviors, or

  identity, without specifically seeking to reduce or eliminate such feelings, runs afoul of the

  Ordinances’ prohibitions.

         109.    As the APA Report upon which the Ordinances rely admits, same-sex attractions,

  behaviors, or identities are fluid and can often spontaneously disappear, particularly in minors. If

  Plaintiffs are merely counseling an individual to understand the origins of their attractions or

  helping them to understand and resolve the conflict with their religious beliefs, they are unable to

  know whether such counseling may result in a spontaneous change for the minor client, even

  though it was not the topic or goal of their counseling.

         110.    Plaintiffs are left to guess at what topics are permissible when a minor client

  presents with anxiety, confusion, distress, or conflict over their unwanted same-sex attractions,

  behaviors, or identity, and the Ordinances provide no clear guideposts on such issues.

         G.      INDIVIDUALIZED EXEMPTIONS IN THE ORDINANCES.

         111.    The City and County Ordinances also establish a system of individualized

  exemptions.

         112.    The City Ordinance permits counseling on the broad topic of sexual orientation,

  gender identity, and attractions, behaviors, and identities of minors seeking counseling, but

  prohibits such counseling when the client desires to receive counseling to change, reduce, or

  eliminate same-sex attractions, behaviors, or identity. (Ex. A at 6).

         113.    The City Ordinance, however, permits counseling relating to change of gender

  identity when such a client is “undergoing gender transition.” (Id.).




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         114.    Thus, the City Ordinance prohibits change when an individual desires to conform

  their gender identity or gender confusion to their own concept of self and biological identity, but

  specifically provides an individual exemption for identical counseling when a client is seeking to

  change their gender identity and expression.

         115.    The City Ordinance permits counseling seeking to affirm, accept, and support a

  client’s unwanted same-sex attractions, behaviors, or identity, and permits counseling to affirm,

  accept, and support a client’s gender identity and expression, but prohibits counseling providing

  acceptance and support for a client whose attractions, behaviors, expressions, or identity do not

  match their concept of self.

         116.    Thus, the City Ordinance exempts counseling affirming a minor transitioning from

  one gender to another, but prohibits such counseling for a client seeking to eliminate the confusion

  or identity that does not match his or her biological makeup.

         117.    The County Ordinance likewise permits counseling on the broad topic of sexual

  orientation, gender identity, and attractions, behaviors, and identities of minors seeking

  counseling, but prohibits such counseling when the client desires to receive counseling to change,

  reduce, or eliminate same-sex attractions, behaviors, or identity. (Ex. B at 5).

         118.    The County Ordinance, however, permits counseling relating to change of gender

  identity when such a client is “undergoing gender transition.” (Id.).

         119.    Thus, the County Ordinance prohibits change when an individual desires to

  conform their gender identity or gender confusion to their own concept of self and biological

  identity, but specifically provides an individual exemption for identical counseling when a client

  is seeking to change their gender identity and expression.




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         120.    The County Ordinance permits counseling seeking to affirm, accept, and support a

  client’s unwanted same-sex attractions, behaviors, or identity, and permits counseling to affirm,

  accept, and support a client’s unwanted gender identity and expression, but prohibits counseling

  providing acceptance and support for a client whose attractions, behaviors, expressions, or identity

  do not match their concept of self.

         121.    Thus, the County Ordinance exempts counseling affirming a minor transitioning

  from one gender to another, but prohibits such counseling for a client seeking to eliminate the

  confusion or identity that does not match his or her biological makeup

         H.      PLAINTIFF ROBERT W. OTTO, PH.D., LMFT.

         122.    Plaintiff, Robert W. Otto, Ph.D, LMFT, is a licensed marriage and family therapist

  and is licensed to practice mental health counseling in Florida.

         123.    Dr. Otto has lived in Palm Beach County continuously since 1998.

         124.    Dr. Otto received his Master of Science and Doctor of Philosophy in Family

  Therapy from Nova Southeastern University.

         125.    Dr. Otto maintains a counseling practice in the City of Boca Raton at Spanish River

  Counseling Center.

         126.    Dr. Otto’s practice includes voluntary SOCE counseling of minors who are

  experiencing unwanted same-sex attractions, behaviors, and identity.

         127.    As a licensed marriage and family therapist who engages in SOCE counseling in

  the City of Boca Raton, which is located in Palm Beach County, Dr. Otto is subject to potential

  fines under the City Ordinance and County Ordinance.

         128.    Prior to engaging in SOCE counseling with any client, Dr. Otto provides them with

  an extensive informed consent form and requires them to review and sign it prior to commencing




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  SOCE counseling. This informed consent form outlines the nature of SOCE counseling, explains

  the controversial nature of SOCE counseling, including the fact that some therapists do not believe

  sexual orientation can or should be changed, and informs the client of the potential benefits and

  risks associated with SOCE counseling.

             129.   Many of Dr. Otto’s clients who desire SOCE counseling profess to be Christians

  with sincerely held religious beliefs that homosexuality is harmful and destructive and therefore

  seek SOCE counseling in order to live a lifestyle that is in congruence with their faith and to

  conform their identity, concept of self, attractions, and behaviors to their sincerely held religious

  beliefs.

             130.   Dr. Otto has never received any complaint or report of harm from any of his clients

  seeking and receiving SOCE counseling, including the many minors that he has counseled.

             131.   Dr. Otto does not coerce his clients into engaging in SOCE counseling, but respects

  the clients’ right of self-determination and treats each client with unconditional positive respect

  regardless of the client’s concept of self or feelings of unwanted same-sex attractions, behaviors,

  or identity.

             132.   One of Dr. Otto’s clients is a minor who was surprised to receive a kiss from a

  same-sex friend. That caused confusion, and the minor wondered about being bisexual. The

  confusion caused conflicts in relationships at school. The minor was also experiencing depression,

  sadness, cutting, eating disorder issues, and suicide attempts. The client did not want the feelings

  of confusion regarding same-sex attractions and sought SOCE counseling, from which the client

  has benefitted.

             133.   Dr. Otto also has an adolescent client who identified as homosexual and came

  seeking help for issues other than sexual orientation. Through the course of therapy, which never




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  included efforts to change sexual orientation or discussion of sexual orientation as a therapeutic

  goal, the client migratged from lesbian to bisexual to heterosexual.

         134.    Dr. Otto also has an adolescent client who has had unwanted homosexual feelings

  that are contrary to the client’s sincerely held religious convictions. The client has not been able

  to reconcile this difference or understand why these feelings are present. The client sought help

  from the parents, and the parents did not know how to address the issue. As a result, the client and

  parents sought help in the form of family and individual counseling.

         135.    Another of Dr. Otto’s clients is seeking counseling to address feelings of isolation,

  depression, hurt, and fear. The child began viewing homosexual pornography and toxic social

  media sites and engaging in sexting. The child lost friends, was confused, and sought help from a

  Christian counselor.

         136.    In each of these cases, and other similar cases, Dr. Otto is prohibited from engaging

  in SOCE counseling with his minor clients or must discontinue ongoing SOCE counseling despite

  the clients’ and parents’ consent and requests to continue, or face penalties under the City and

  County Ordinances.

         137.     The City and County Ordinances will prevent Dr. Otto’s patients from continuing

  to progress in their individually-determined course of counseling, and from continuing to receive

  counseling in accordance with their sincerely held religious beliefs. In addition, the Ordinances

  will adversely affect future clients. Dr. Otto periodically receives requests for therapy for both

  unwanted homosexual attractions and gender identity confusion, and he and other licensed

  professionals in the City and County will be prohibited from providing and the clients prohibited

  from receiving help.




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         138.     The City and County Ordinances also leave Dr. Otto on an irresolvable collision

  course with his ethical requirements as a marriage and family therapist. According to the AAMFT

  Code Standard 1.11, if a therapist stops treatment prior to termination, it is considered

  abandonment, which is unethical. Therefore, if he complies with the Ordinances, Dr. Otto will

  violate the code of ethics, and if he does not comply and engages in the requested therapy, then he

  violates the Ordinances.

         139.     By prohibiting minors from receiving SOCE counseling, the Ordinances have

  purported to make a portion of Dr. Otto’s practice illegal and unethical despite the fact that SOCE

  counseling has not been declared illegal or unethical by the statewide licensing body or the State

  Legislature. As a result, the Ordinances have created an inconsistent patchwork of regulations

  under which certain counseling practices are permitted in one portion of the state but prohibited in

  neighboring portions of the state, creating conflict and confusion for Dr. Otto and for his clients.

         I.      PLAINTIFF JULIE H. HAMILTON, PH.D., LMFT.

         140.    Plaintiff, Julie H. Hamilton, Ph.D., LMFT, is a licensed marriage and family

  therapist licensed to practice therapy in the state of Florida who practices marriage and family

  therapy in Palm Beach County.

         141.    Dr. Hamilton received her Master of Science in Marriage and Family Therapy from

  Nova Southeastern University in 1995 and her Ph.D. in Marriage and Family Therapy from Nova

  Southeastern University in 1999.

         142.    In her current practice, Dr. Hamilton provides individual, marital, and family

  therapy for a wide variety of issues, including the issues of unwanted same-sex attractions and

  gender identity confusion.




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         143.    Prior to engaging in therapy for any issue, Dr. Hamilton provides all of her clients

  with informed consent, in which she explains that, because there are many variables in

  psychotherapy, there is no guarantee that by pursuing therapy clients will be happier; that no

  particular treatment method can be guaranteed to be effective; and that therapy can be

  uncomfortable as clients talk about unresolved life experiences.

         144.    Dr. Hamilton is a client-directed therapist, in that it is the client who sets the goals

  for therapy. Dr. Hamilton does not impose an agenda on her clients, nor does she determine clients’

  goals for therapy. Clients set their own goals for therapy. In family or marital situations, all parties

  are voluntary participants. One family member cannot determine the goals for another family

  member. This would include situations in which a parent brings a minor child to therapy. If a child

  is not interested or willing to work on goals that the parent may have for him or her, Dr. Hamilton

  does not force or coerce the child to adopt such goals. Dr. Hamilton only works with voluntary

  clients who determine the goals that they have for themselves. Dr. Hamilton does not coerce her

  clients into engaging in therapy, but respects the clients’ rights of self-determination and treats

  each client with unconditional positive respect regardless of the client’s personal beliefs, concept

  of self or feelings of unwanted same-sex attractions, behaviors, or identity.

         145.    Many of Dr. Hamilton’s clients are referred through churches or word of mouth.

  Many of her clients uphold a Biblical worldview. Dr. Hamilton’s clients with same-sex attractions,

  behaviors, or identity or gender identity confusion who adhere to a Biblical worldview believe that

  embracing a gay identity is not in accordance with God’s plan for their lives, nor is adopting a

  gender identity that is different from their biological sex. They believe that attractions do not

  dictate behavior, nor do feelings and perceptions determine identity. Clients who identify as

  Christians, holding to a Biblical worldview, believe that their faith and their relationships with




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  God supersede romantic attractions, and that God determines their identity, according to what He

  has revealed in the Bible, rather than their attractions or perceptions determining their identity.

         146.    Many such clients who have same-sex attractions or gender identity confusion, who

  also prioritize their faith above their feelings, seek out therapy to clear up gender identity

  confusion, reduce same-sex attractions, change same-sex behaviors, and/or simply live a life

  consistent with their faith. Clients who have been living a life inconsistent with their faith often

  present with internal conflicts, depression, anxiety, substance abuse and so forth; therefore, they

  are seeking resolution to such turmoil.

         147.    Dr. Hamilton has never received any complaint or report of harm from any of her

  clients seeking and receiving therapy for any issue, including the many minors that she has

  counseled.

         148.    Dr. Hamilton has had parents who have brought their minor child to therapy to

  address homosexual attractions or behaviors, and whose minor child did not share the same goal.

  In such cases where minors have expressed that they are happy identifying as gay, lesbian, or bi-

  sexual, and do not want help for changing identity, attractions, or behavior, Dr. Hamilton asks if

  there is any other goals that the minor is interested in pursuing. In many cases, minors ask for help

  with social issues, family relationships, parent-child communication, or helping to facilitate the

  parents’ coping with the sexual identity of the child. Dr. Hamilton has helped a number of minors

  and parents with those goals of the minors, instead of trying to help minors change their attractions,

  behavior, or identity, when minor clients tell her that they are not seeking change of attractions,

  behavior, or identity. In other cases, minors have stated that they do not have a therapeutic goal,

  and therapy is terminated.




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          149.   Dr. Hamilton currently has a minor teen-aged client, who originally presented with

  the goal of reducing same-sex attractions and avoiding a homosexual identity. At the start of

  therapy, this client was self-identifying as “bi-curious.” During the course of therapy, the client

  decided to pursue a homosexual relationship rather than pursue change. Dr. Hamilton offered to

  discontinue therapy at that time, and yet the minor client requested to continue therapy, and even

  requested more frequent visits, changing from bi-weekly to weekly sessions. Throughout the

  course of therapy, the client has changed identity labels as well as therapeutic goals several times,

  pursuing both same-sex and opposite sex-relationships. Following the Easter season, Dr.

  Hamilton’s client reported that his sincerely held religious beliefs have convicted him (outside of

  therapy) and that he sincerely desires to pursue reducing and eliminating his unwanted same-sex

  attractions.

          150.   Dr. Hamilton has another client who began counseling with a litany of changing

  emotions regarding her perceived sexual orientation and identity. This minor client was 12-years-

  old at the beginning of counseling and indicated that her sexual identity was very fluid, fluctuating

  between homosexual, bisexual and pansexual. After engaging in counseling with Dr. Hamilton,

  who encouraged her to explore the reasons why she felt she needed a “label,” the client began to

  understand the origins and nature of her confusion regarding her sexual orientation. On her own

  accord and through the process of counseling with Dr. Hamilton, this minor client determined that

  she was heterosexual and that her same-sex attractions and confusion did not represent her own

  concept of self.

          151.   Dr. Hamilton’s minor client noted in her counseling that she had many friends who

  identify as bisexual, homosexual, pansexual, transgender, asexual, etc., but that all of them had

  indicated they were confused and struggling. Many of her friends dealt with problems of cutting,




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  depression, substance abuse, and a few even had thoughts of suicide. Dr. Hamilton’s minor client

  actually witnessed one of her friends, who identifies as transgender and bisexual, try to harm

  himself through cutting. Her best friend identifies as bisexual and struggles with depression. This

  friend attempted suicide at the age of ten, and has attempted other times as well.

         152.    After engaging in counseling with Dr. Hamilton, this minor client believes she has

  discovered her true self, that she is healthier, that she feels happy, and that she benefitted from her

  counseling with Dr. Hamilton. Dr. Hamilton’s client has also discussed with Dr. Hamilton her

  desire to have her friends and other minors be able to obtain the help and counseling she received.

  During her counseling with Dr. Hamilton, this client expressed her sincere love for these friends,

  stated that she has cried with her friends, cried for her friends, hugged and consoled her friends,

  calls some of these friends siblings because they are so close, and hopes that these friends can also

  get assistance for the struggles and confusion they are experiencing.

         153.    Dr. Hamilton has another client who is an elementary-aged child whose parents

  initiated therapy due to concerns about the child’s apparent gender identity confusion, as the child

  was demonstrating a discontentment with the child’s biological sex. Throughout the course of

  therapy, this child’s gender identity confusion appears to have decreased tremendously. This child

  now reports to be much more comfortable with the child’s own biological sex. At this time, Dr.

  Hamilton meets periodically with both the parents and the child to maintain the positive changes

  that have occurred.

         154.    With elementary-aged children who appear to have gender identity confusion, Dr.

  Hamilton spends most of the time in therapy working with the parents and a small portion of the

  time meeting with the child. The majority of therapy takes place with the parents, helping them to

  relate to the child in such a way that the child becomes more comfortable and confident in his or




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  her identity as biologically male or female. In addition, a small amount of time is spent with the

  child addressing concerns, confusion, and perceptions of the child.

         155.    According to the County Ordinance, Dr. Hamilton is now prohibited from

  continuing to meet with this minor client to address gender identity. According to this Ordinance,

  the only therapy that would be permissible for gender identity confusion is therapy that supports a

  child in “gender transition” or helping the child to proceed down a path towards changing that

  child’s biological sex.

         156.    The County Ordinance and its restrictions are greatly problematic for this client for

  many reasons: It only allows for gender transition rather than therapy that is gender affirming;

  gender transition is not the goal of this child or the child’s parents; there is no scientific evidence

  that gender transition is safe or effective for children; there are many adverse side effects to gender

  transition; and this particular child’s therapy with Dr. Hamilton, which has been gender affirming,

  has been very helpful up to this point. Abruptly stopping therapy would be both unprofessional

  and potentially harmful to the client.

         157.    Dr. Hamilton has also been approached by a pre-teenage gender confused client,

  requesting counseling to address gender confusion. This client’s gender confusion appears to have

  originated externally, through cultural input, rather than internally as a genuine transgender

  condition. Because of the County Ordinance, Dr. Hamilton has been forced to inform the client

  and family that this child is not permitted to receive the counseling they are seeking from Dr.

  Hamilton. Dr. Hamilton has told the parents that they are free to attend counseling with Dr.

  Hamilton, but that she is prohibited by the County Ordinance from including the gender-confused

  client who desires the counseling. This has harmed both the parents and their minor child.




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         158.    Since the passage of the County Ordinance, Dr. Hamilton has also been contacted

  by the parents of another pre-teenage client who is experiencing gender confusion. This minor

  client also desired counseling to assist with her gender confusion, but Dr. Hamilton had to inform

  the minor client and parents that the County Ordinance prohibits the counseling that they seek.

  This has harmed both the parents and their minor child.

         159.     In addition to Dr. Hamilton’s current clients, there are potentially many future

  clients who will be adversely affected by the County Ordinance. Dr. Hamilton periodically

  receives requests for therapy for both unwanted homosexual attractions and gender identity

  confusion. This Ordinance will prevent future clients from getting help.

         160.    The County Ordinance also leaves Dr. Hamilton on an irresolvable collision course

  with her ethical requirements as a marriage and family therapist. According to the AAMFT Code

  Standard 1.11, if a therapist stops treatment prior to termination, it is considered abandonment,

  which is unethical. Therefore, if she complies with the County Ordinance, then she will violate the

  code of ethics, and if she does not comply and engages in the requested therapy, then she violates

  the County Ordinance.

         161.    By prohibiting minors from receiving SOCE counseling, the County Ordinance has

  purported to make a portion of Dr. Hamilton’s practice illegal and unethical despite the fact that

  SOCE counseling has not been declared illegal or unethical by the statewide licensing body or the

  State Legislature. As a result, the County Ordinance has created an inconsistent patchwork of

  regulations under which certain counseling practices are permitted in one portion of the state but

  prohibited in neighboring portions of the state, creating conflict and confusion for Dr. Hamilton

  and for her clients.




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         J.      IRREPARABLE HARM TO DR. OTTO, DR. HAMILTON, AND THEIR
                 CLIENTS.

         162.    Dr. Otto and Dr. Hamilton desire to advertise their counseling, including SOCE

  counseling, to clients and potential clients in the City and County, including minors.

         163.    Consistent with their First Amendment rights, Dr. Otto and Dr. Hamilton want to

  offer their counseling, including SOCE counseling, to clients and potential clients in the City and

  County, including minors.

         164.    Consistent with their First Amendment rights, Dr. Otto and Dr. Hamilton want to

  provide their counseling, including voluntary SOCE counseling, to clients and potential clients in

  the City and County, including minors.

         165.    Consistent with their First Amendment rights, Dr. Otto and Dr. Hamilton would

  like to be able to inform religious leaders, organizations, and ministries that there is help from

  licensed mental health professionals with expertise in this area and that it is available to individuals

  desiring assistance in the area of unwanted same-sex attractions, behaviors, and identity.

         166.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton are

  prohibited from advertising SOCE counseling to clients and potential clients, including minors, in

  the City and County.

         167.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton are

  prohibited from offering voluntary SOCE counseling to clients and potential clients, including

  minors, in the City and County.

         168.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton are

  prohibited from engaging in SOCE counseling with clients and potential clients, including minors

  who desire such counseling, in the City and County.




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          169.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton are

  restricted from engaging in constitutionally protected speech, including advertising their SOCE

  counseling to clients and potential clients in the City and County.

          170.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton are

  prohibited from engaging in constitutionally protected speech, including offering their SOCE

  counseling to clients and potential clients in the City and County.

          171.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton are

  prohibited from engaging in constitutionally protected speech, including providing their SOCE

  counseling to willing clients and potential clients in the City and County.

          172.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton have been

  chilled in their constitutionally protected expression.

          173.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton are

  prohibited from engaging in constitutionally protected speech, including providing their SOCE

  counseling to willing clients and potential clients in the City and County in violation of their clients

  and potential clients’ First Amendment right to receive information.

          174.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton have been

  and will be forced to deny voluntary SOCE counseling to their clients and potential clients in

  violation of their and their clients’ sincerely held religious beliefs.

          175.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton have been

  and will be forced to deny SOCE counseling to their willing clients and potential clients in

  violation of the clients’ fundamental rights to self-determination.




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         176.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton have

  suffered, are suffering, and will continue to suffer ongoing, immediate, and irreparable injury to

  their cherished First Amendment rights to freedom of speech.

         177.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton have

  suffered, are suffering, and will continue to suffer ongoing, immediate, and irreparable injury to

  their cherished First Amendment rights to free exercise of religion.

         178.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton’s clients

  have suffered, are suffering, and will continue to suffer ongoing, immediate, and irreparable injury

  to their cherished First Amendment rights to receive information.

         179.    Because of the City and County Ordinances, Dr. Otto’s and Dr. Hamilton’s current

  minor clients are prohibited from receiving the SOCE counseling that the clients desire to obtain

  from a licensed professional with expertise in this area.

         180.    Dr. Otto’s and Dr. Hamilton’s minor clients have thus suffered, are suffering, and

  will continue to suffer ongoing, immediate, and irreparable injury to the clients’ cherished First

  Amendment rights to receive information.

         181.    Because of the City and County Ordinances, Dr. Otto and Dr. Hamilton’s clients

  have suffered, are suffering, and will continue to suffer ongoing, immediate, and irreparable injury

  to their cherished First Amendment rights to free exercise of religion.

         182.    Dr. Otto, Dr. Hamilton, and their clients and potential clients have no adequate

  remedy at law to protect the ongoing, immediate, and irreparable injury to their cherished First

  Amendment liberties.

      COUNT I – THE CITY AND COUNTY ORDINANCES VIOLATE PLAINTIFFS’
        RIGHT TO FREEDOM OF SPEECH UNDER THE FIRST AMENDMENT.

         183.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.



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          184.    The Free Speech Clause of the First Amendment to the United States Constitution,

  as applied to the states by the Fourteenth Amendment, prohibits Defendants from abridging

  Plaintiffs’ freedom of speech.

          185.    The City and County Ordinances, on their face and as applied, are unconstitutional

  prior restraints on Plaintiffs’ speech.

          186.    The City and County Ordinances, on their face and as applied, unconstitutionally

  discriminate on the basis of viewpoint.

          187.    The City and County Ordinances, on their face and as applied, authorize only one

  viewpoint on SOCE counseling and unwanted same-sex sexual attractions, behaviors, and identity

  by forcing Plaintiffs to present only one viewpoint on the otherwise permissible subject matter of

  same-sex attractions, behaviors, or identity. The Ordinances also force Plaintiffs’ clients and their

  parents to receive only one viewpoint on this otherwise permissible subject matter.

          188.    The City and County Ordinances, on their face and as applied, discriminate against

  Plaintiffs’ speech on the basis of the content of the message they offer and that Plaintiffs’ clients

  seek to receive.

          189.    Defendants lack compelling, legitimate, significant, or even rational governmental

  interests to justify the City and County Ordinances’ infringement of the right to free speech.

          190.    The City and County Ordinances, on their face and as applied, are not the least

  restrictive means to accomplish any permissible government purpose sought to be served by the

  law.

          191.    Informed consent provisions outlining the required disclosure prior to engaging in

  SOCE counseling with a minor would have been far less restrictive of Plaintiffs’ speech, and

  mental health counseling organizations have urged legislatures to adopt informed consent




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  provisions. A copy of the California mental health organizations’ letter to the California legislature

  concerning legislation virtually identical to the City and County Ordinances is attached as

  EXHIBIT G and incorporated herein.

            192.   The City and County Ordinances do not leave open ample alternative channels of

  communication for Plaintiffs.

            193.   The City and County Ordinances, on their face and as applied, are irrational and

  unreasonable and impose unjustifiable and unreasonable restrictions on constitutionally protected

  speech.

            194.   The City and County Ordinances, on their face and as applied, unconstitutionally

  chill and abridge the right of Plaintiffs to freely communicate information pertaining to unwanted

  same-sex sexual attractions, behaviors, or identity.

            195.   The City and County Ordinances, on their face and as applied, unconstitutionally

  chill and abridge the right of Plaintiffs’ clients to freely receive information pertaining to unwanted

  same-sex sexual attractions, behaviors, or identity.

            196.   The City and County Ordinances’ prohibitions on licensed mental health counselors

  offering voluntary SOCE counseling that could change, reduce, or otherwise address a minor

  client’s unwanted same-sex attractions, behaviors, or identity, which would include a referral to

  someone who offers SOCE counseling, on their face and as applied, abridge Plaintiffs’ right to

  offer and Plaintiffs’ clients’ right to receive information.

            197.   The City and County Ordinances vest unbridled discretion in government officials

  to apply or not apply the Ordinances in a manner that restricts free speech, and subject Plaintiffs

  to ethical code violations.




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          198.    The City and County Ordinances, on their face and as applied, are impermissibly

  vague as they require licensed professionals subject to their dictates and government officials

  tasked with enforcing them to guess at their meaning and differ as to their application.

          199.    The City and County Ordinances, on their face and as applied, are under-inclusive

  by limiting the prohibition on using SOCE counseling to minors.

          200.    The City and County Ordinances, on their face and as applied, are

  unconstitutionally overbroad as they chill and abridge the free speech rights of all licensed mental

  health providers in the City of Boca Raton and County of Palm Beach who use counseling

  techniques to provide assistance to minors seeking to reduce or eliminate their unwanted same-sex

  attractions, behaviors, or identity, and do not leave open alternative methods of communication.

          201.    The City and County Ordinances’ violations of Plaintiffs’ rights of free speech have

  caused, are causing, and will continue to cause Plaintiffs and their clients to suffer undue and actual

  hardship and irreparable injury.

          202.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

  their most cherished constitutional liberties.

          WHEREFORE, Plaintiffs respectfully pray for the relief against Defendants as hereinafter

  set forth in their prayer for relief.

      COUNT II – THE CITY AND COUNTY ORDINANCES VIOLATE PLAINTIFFS’
        CLIENTS’ FIRST AMENDMENT RIGHT TO RECEIVE INFORMATION

          203.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.

          204.    The First Amendment, as applied to the states by the Fourteenth Amendment,

  protects an individual’s freedom of speech, and the corollary to that right, the right to receive

  information.




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          205.    Plaintiffs’ clients have sincerely held religious beliefs that shape their desire to

  receive SOCE counseling and the information that Plaintiffs can provide on reducing or

  eliminating unwanted same-sex attractions, behaviors, and identity.

          206.    The City and County Ordinances prevent Plaintiffs’ clients from receiving SOCE

  counseling and deprive them of the opportunity to even obtain the information about SOCE

  counseling from licensed mental health professionals in the City and County.

          207.    The City and County Ordinances are not supported by compelling government

  interests.

          208.    Even if The City and County Ordinances were supported by compelling

  government interest, they are not narrowly tailored to achieve that purpose and therefore violate

  the fundamental rights of Plaintiffs’ clients to receive information.

          209.    The City and County Ordinances, on their face and as applied, are not the least

  restrictive means to accomplish any permissible government purpose sought to be served by the

  law.

          210.    The City and County Ordinances’ violations of the fundamental rights of Plaintiffs’

  clients have caused, are causing, and will continue to cause undue and actual hardship and

  irreparable injury.

          211.    Plaintiffs’ clients have no adequate remedy at law to correct the continuing

  deprivation of their most cherished constitutional liberties.

          WHEREFORE, Plaintiffs pray for the relief against Defendants as hereinafter set forth in

  their prayer for relief.

     COUNT III – THE CITY AND COUNTY ORDINANCES VIOLATE PLAINTIFFS’
                    RIGHT TO FREE EXERCISE OF RELIGION

          212.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.



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          213.    The Free Exercise Clause of the First Amendment to the United States Constitution,

  as applied to the states by the Fourteenth Amendment, prohibits Defendants from abridging

  Plaintiffs’ right to free exercise of religion.

          214.    Many of Plaintiffs’ clients have sincerely held religious beliefs that same-sex sexual

  attractions, behaviors, or identity are wrong, and they seek to resolve these conflicts between their

  religious beliefs and their attractions in favor of their religious beliefs.

          215.    Plaintiffs also have sincerely held religious beliefs to provide spiritual counsel and

  assistance to their clients who seek such counsel. Plaintiffs hold sincerely held religious beliefs

  that they should counsel clients on the subject matter of same-sex attractions, behaviors, or identity

  from a religious viewpoint that aligns with their religious beliefs and those of their clients.

          216.    The City and County Ordinances, on their face and as applied, target Plaintiffs’ and

  their clients’ sincerely held religious beliefs regarding human nature, gender, ethics, morality, and

  SOCE counseling, which are informed by the Bible and constitute central components of their faith.

  The City and County Ordinances cause them a direct and immediate conflict with their religious

  beliefs by prohibiting them from offering, referring, and receiving counseling that is consistent

  with their religious beliefs.

          217.    The City and County Ordinances, on their face and as applied, have impermissibly

  burdened Plaintiffs’ and their clients’ sincerely held religious beliefs and compel them to both

  change those religious beliefs and to act in contradiction to them. The Ordinances have also forced

  Plaintiffs and their clients to choose between the teachings and requirements of their sincerely held

  religious beliefs and the value system imposed by the City and County.




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          218.    The City and County Ordinances place Plaintiffs and their clients in an irresolvable

  conflict between compliance with their sincerely held religious beliefs and compliance with the

  Ordinances.

          219.    The Ordinances also put substantial pressure on Plaintiffs and their clients to violate

  their sincerely held religious beliefs by ignoring the fundamental tenets of their faith concerning

  same-sex attractions, behaviors, or identity.

          220.    The City and County Ordinances, on their face and as applied, are neither neutral

  nor generally applicable, but rather specifically and discriminatorily target the religious speech,

  beliefs, and viewpoint of those individuals who believe change is possible, and thus expressly

  constitute a substantial burden on sincerely held religious beliefs that are contrary to the City- and

  County-approved viewpoints on same-sex attractions, behavior, or identity.

          221.    The City’s and County’s alleged interests in protecting minors from the so-called

  harm of SOCE counseling are unsubstantiated and do not constitute compelling government

  interests.

          222.    No compelling government interest justifies the burdens Defendants impose upon

  Plaintiffs and their clients’ rights to the free exercise of religion.

          223.    Even if the City and County Ordinances were supported by compelling government

  interests, they are not the least restrictive means to accomplish any permissible government

  purpose which the City and County Ordinances seek to serve.

          224.    The City and County Ordinances, both on their face and as-applied, have failed and

  refused to accommodate Plaintiffs’ sincerely held religious beliefs.

          225.    The City and County Ordinances, both on their face and as-applied, specifically

  target religion for disparate treatment and have set up a system of individualized exemptions that




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  permits certain counseling on same-sex attractions, behaviors, or identity while denying religious

  counseling on the same subjects.

          226.    The City and County Ordinances, both on their face and as-applied, constitute a

  religious gerrymander

          227.    The City and County Ordinances’ violations of Plaintiffs’ and their clients’ rights

  to free exercise of religion have caused, are causing, and will continue to cause Plaintiffs and their

  clients to suffer undue and actual hardship and irreparable injury.

          228.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

  their most cherished constitutional liberties.

          WHEREFORE, Plaintiffs respectfully pray for the relief against Defendants as hereinafter

  set forth in their prayer for relief.

     COUNT IV – THE CITY AND COUNTY ORDINANCES VIOLATE PLAINTIFFS’
      RIGHTS TO LIBERTY OF SPEECH UNDER ARTICLE 1, SECTION 4 OF THE
                          FLORIDA CONSTITUTION

          229.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.

          230.    Article I, §4 of the Constitution of the State of Florida states, “Every person may

  speak, write and publish sentiments on all subjects but shall be responsible for the abuse of that

  right. No law shall be passed to restrain or abridge the liberty of speech or of the press.”

          231.    The City and County Ordinances, on their face and as applied, are unconstitutional

  prior restraints on Plaintiffs’ speech.

          232.    The City and County Ordinances, on their face and as applied, unconstitutionally

  discriminate on the basis of viewpoint.

          233.    The City and County Ordinances, on their face and as applied, authorize only one

  viewpoint on SOCE counseling and unwanted same-sex sexual attractions, behaviors, and identity




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  by forcing Plaintiffs to present only one viewpoint on the otherwise permissible subject matter of

  same-sex attractions, behaviors, or identity. The City and County Ordinances also force Plaintiffs’

  clients to receive only one viewpoint on this otherwise permissible subject matter.

            234.   The City and County Ordinances, on their face and as applied, discriminate against

  Plaintiffs’ speech on the basis of the content of the message they offer or that Plaintiffs’ clients

  seek to receive.

            235.   Defendants lack compelling, legitimate, significant, or even rational governmental

  interests to justify the City and County Ordinances’ infringements of the right to free speech.

            236.   The City and County Ordinances, on their face and as applied, are not the least

  restrictive means to accomplish any permissible government purposes sought to be served by the

  laws.

            237.   Informed consent provisions outlining the required disclosure prior to engaging in

  SOCE counseling with a minor would have been far less restrictive of Plaintiffs’ speech, and

  mental health counseling organizations have urged legislatures to adopt informed consent

  provisions. (See Ex. G).

            238.   The City and County Ordinances do not leave open ample alternative channels of

  communication for Plaintiffs.

            239.   The City and County Ordinances, on their face and as applied, are irrational and

  unreasonable and impose unjustifiable and unreasonable restrictions on constitutionally protected

  speech.

            240.   The City and County Ordinances, on their face and as applied, unconstitutionally

  chill and abridge the right of Plaintiffs to freely communicate information pertaining to unwanted

  same-sex sexual attractions, behaviors, or identity.




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         241.    The City and County Ordinances, on their face and as applied, unconstitutionally

  chill and abridge the right of Plaintiffs’ clients to freely receive information pertaining to unwanted

  same-sex sexual attractions, behaviors, or identity.

         242.    The City and County Ordinances’ prohibitions on licensed mental health counselors

  offering voluntary SOCE counseling that could change, reduce, or otherwise address a minor

  client’s unwanted same-sex attractions, behaviors, or identity, which would include a referral to

  someone who offers SOCE counseling, on their face and as applied, abridge Plaintiffs’ rights to

  offer and Plaintiffs’ clients’ rights to receive information.

         243.    The City and County Ordinances vest unbridled discretion in government officials,

  including Defendants, to apply or not apply the Ordinances in a manner that restricts free speech,

  and subject Plaintiffs to ethical code violations.

         244.    The City and County Ordinances, on their face and as applied, are impermissibly

  vague as they require licensed professionals subject to their dictates and government officials

  tasked with enforcing them to guess at their meaning and differ as to their application.

         245.    The City and County Ordinances, on their face and as applied, are under-inclusive

  by limiting the prohibition on SOCE counseling to minors.

         246.    The City and County Ordinances, on their face and as applied, are

  unconstitutionally overbroad as they chill and abridge the free speech rights of all licensed mental

  health providers in the City of Boca Raton and County of Palm Beach who use voluntary

  counseling techniques that have the potential to help minors reduce or eliminate their unwanted

  same-sex attractions, behaviors, or identity and do not leave open alternative methods of

  communication.




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          247.    The City and County Ordinances’ violation of Plaintiffs’ rights of free speech have

  caused, are causing, and will continue to cause Plaintiffs and their clients to suffer undue and actual

  hardship and irreparable injury.

          248.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

  their most cherished constitutional liberties.

          WHEREFORE, Plaintiffs respectfully pray for the relief against Defendants as hereinafter

  set forth in their prayer for relief.

     COUNT V – THE CITY AND COUNTY ORDINANCES VIOLATE PLAINTIFFS’
  RIGHT TO FREE EXERCISE AND ENJOYMENT OF RELIGION UNDER ARTICLE I,
                 SECTION 3 OF THE FLORIDA CONSTITUTION

          249.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.

          250.    Article I, § 3 of the Florida Constitution states, “There shall be no law respecting

  the establishment of religion or prohibiting or penalizing the free exercise thereof.”

          251.    Many of Plaintiffs’ clients have sincerely held religious beliefs that same-sex sexual

  attractions, behaviors, or identity are wrong, and they seek to resolve these conflicts between their

  religious beliefs and their attractions in favor of their religious beliefs.

          252.    Plaintiffs also have sincerely held religious beliefs to provide spiritual counsel and

  assistance to their clients who seek such counsel. Plaintiffs hold sincerely held religious beliefs

  that they should counsel clients on the subject matter of same-sex attractions, behaviors, or identity

  from a religious viewpoint that aligns with their religious beliefs and those of their clients.

          253.    The City and County Ordinances, on their face and as applied, target Plaintiffs’ and

  their clients’ sincerely held religious beliefs regarding human nature, gender, ethics, morality, and

  SOCE counseling, which are informed by the Bible and constitute central components of their

  faith. The City and County Ordinances will cause them a direct and immediate conflict with their




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  religious beliefs by prohibiting them from offering, referring, and receiving counseling that is

  consistent with their religious beliefs.

          254.    The City and County Ordinances, on their face and as applied, have impermissibly

  burdened Plaintiffs’ and their clients’ sincerely held religious beliefs and compel them to both

  change those religious beliefs and to act in contradiction to them. The City and County Ordinances

  have also forced Plaintiffs and their clients to choose between the teachings and requirements of

  their sincerely held religious beliefs and the value system imposed by the City and County.

          255.    The City and County Ordinances place Plaintiffs and their clients in an irresolvable

  conflict between compliance with their sincerely held religious beliefs and compliance with the

  Ordinances.

          256.    The City and County Ordinances put substantial pressure on Plaintiffs to violate

  their sincerely held religious beliefs by ignoring the fundamental tenets of their faith concerning

  same-sex attractions, behaviors, or identity

          257.    The City and County Ordinances, on their face and as applied, are neither neutral

  nor generally applicable, but rather specifically and discriminatorily target the religious speech,

  beliefs, and viewpoint of those individuals who believe change is possible. The City and County

  Ordinances, expressly on their face and as applied, constitute a substantial burden on sincerely

  held religious beliefs that are contrary to the City- and County-approved viewpoints on same-sex

  attractions, behavior, or identity.

          258.    The City’s and County’s alleged interests in protecting minors from the so-called

  harm of SOCE counseling are unsubstantiated and do not constitute compelling government

  interests.




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          259.    No compelling government interests justify the burdens Defendants impose upon

  Plaintiffs’ and their clients’ rights to the free exercise of religion.

          260.    Even if the City and County Ordinances were supported by compelling government

  interests, they are not the least restrictive means to accomplish any permissible government

  purpose which the Ordinances seek to serve.

          261.    The City and County Ordinances, both on their face and as-applied, have failed and

  refused to accommodate Plaintiffs’ sincerely held religious beliefs.

          262.    The City and County Ordinances, both on their face and as-applied, specifically

  target religion for disparate treatment and have set up a system of individualized exemptions that

  permits certain counseling on same-sex attractions, behaviors, or identity while denying religious

  counseling on the same subject.

          263.    The City and County Ordinances, both on their face and as-applied, constitute a

  religious gerrymander.

          264.    The City and County Ordinances’ violations of Plaintiffs’ and their clients’ rights

  to free exercise of religion have caused, are causing, and will continue to cause Plaintiffs and their

  clients to suffer undue and actual hardship and irreparable injury.

          265.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

  their most cherished constitutional liberties.

          WHEREFORE, Plaintiffs respectfully pray for the relief against Defendants as hereinafter

  set forth in their prayer for relief.

    COUNT VI – THE CITY AND COUNTY HAD NO AUTHORITY TO ENACT THE
   ORDINANCES AND THEIR ADOPTION IS THUS ULTRA VIRES UNDER FLORIDA
    STATUTES AND ARTICLE VIII, SECTIONS 1(G) AND 2(B) OF THE FLORIDA
                             CONSTITUTION

          266.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.



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         267.    Article VIII, §2(b) of the Florida Constitution provides that “[m]unicipalities shall

  have governmental, corporate and proprietary powers to enable them to conduct municipal

  government, perform municipal functions and render municipal services, and may exercise any

  power for municipal purposes except as otherwise provided by law.”

         268.    Fla. Stat. Ann. §166.021(1) provides: “municipalities shall have the governmental,

  corporate, and proprietary powers to enable them to conduct municipal government, perform

  municipal functions, and render municipal services, and may exercise any power for municipal

  purposes, except when expressly prohibited by law.”

         269.    Fla. Stat. Ann. §166.021(2) defines “municipal purpose” as “any activity or power

  which may be exercised by the state or its political subdivisions.”

         270.    Fla. Stat. Ann. §166.021(3)(c) states that the legislative body of each municipality

  has the power to enact legislation concerning any subject matter upon which the state Legislature

  may act, except “[a]ny subject expressly preempted to state or county government by the

  constitution or by general law.”

         271.    As a municipality in the State of Florida, the City is limited to enacting ordinances

  for “municipal purposes” as provided in Fla. Stat. Ann. §166.021(2), but only to the extent that

  said purposes do not seek to impose regulations on any subject that has been preempted by the

  State of Florida.

         272.    Article VIII, §1(g) of the Florida Constitution provides that “Counties operating

  under county charters shall have all powers of local self-government not inconsistent with general

  law, or with special law approved by vote of the electors. The governing body of a county operating

  under a charter may enact county ordinances not inconsistent with general law.”




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         273.    The County of Palm Beach has enacted a home rule charter pursuant to Fla. Stat.

  Ann. §125.60 and therefore is empowered to enact county ordinances, but said ordinances cannot

  be inconsistent with general law as adopted by the State Legislature.

         274.    The Legislature of the State of Florida has pre-empted the field of regulation of

  mental health professionals, through enactment of Florida Statutes, Title XXXII, Chapter 491.

         275.    More particularly, the Legislature of the State of Florida has pre-empted the field

  of disciplinary actions for licensed mental health professionals in Fla. Stat. Ann. § §491.009 and

  the regulations promulgated thereunder, Fla. Admin. Code Ann. r. 64B-5001.

         276.    Fla. Admin. Code Ann. r. 64B-5001 sets forth procedures for determining whether

  a licensed mental health professional in the State of Florida has engaged in conduct that is subject

  to discipline, and establishes schedules of fees and penalties for said conduct.

         277.    The Legislature of the State of Florida has not prohibited the use of so-called

  “conversion therapy” or SOCE counseling or otherwise included the use of such counseling in the

  list of conduct that can subject a licensed mental health professional to disciplinary action under

  Fla. Stat. Ann. §491.009 or Fla. Admin. Code Ann. r. 64B-5001.

         278.    In fact, in its capacity as the sole regulator of mental health professionals in the

  State of Florida, the Legislature has specifically declined to adopt such restrictions on SOCE

  counseling. Indeed, H.B. 137, 2016 Leg. (Fla. 2016) and S.B. 258 2016 Leg. (Fla. 2016), which

  were both proposals to prohibit SOCE counseling, were defeated in committee and thus not

  adopted by the sole regulator of mental health professionals in Florida.

         279.    The City and County Ordinances prohibit licensed mental health professionals from

  practicing a type of mental health counseling that is not prohibited by the state and that the state

  specifically chose not prohibit when it had the opportunity.




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          280.    The City and County have no authority to adopt any ordinance or provision that

  exceeds state law in a preempted field, and their actions are void ab initio as ultra vires acts in

  violation of the laws and Constitution of the State of Florida.

          281.    Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

  their most cherished constitutional liberties.

          WHEREFORE, Plaintiffs respectfully pray for the relief against Defendants as hereinafter

  set forth in their prayer for relief.

     COUNT VII – THE CITY AND COUNTY ORDINANCES VIOLATE PLAINTIFFS’
         RIGHTS UNDER THE FLORIDA PATIENT’S BILL OF RIGHTS AND
                             RESPONSIBILITIES

          282.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.

          283.    Plaintiffs’ clients have the “right to impartial access to medical treatment or

  accommodations, regardless of . . . religion.” Fla. Stat. Ann. §381.026(4)(d)(1).

          284.    Plaintiffs’ clients have the “right to access any mode of treatment that is, in his or

  her own judgment and the judgment of his or her health care practitioner, in the best interests of

  the patient, including complementary or alternative health care treatments, in accordance with the

  provisions of §456.41.” Fla. Stat. Ann. §381.026(4)(d)(3).

          285.    Plaintiffs Dr. Otto and Dr. Hamilton are “health care practitioners” under the

  Florida Patient’s Bill of Rights and Responsibilities because they are health care practitioners

  under Fla. Stat. Ann. §456.41. See Fla. Stat. Ann. §456.41(2)(b) (defining “health care

  practitioner” as that terms is defined in Fla. Stat. Ann. §456.001(4), which includes marriage and

  family therapist licensed under Fla. Stat. Ann. §491.003(5)).

          286.    Fla. Stat. Ann. §456.41 states that “[i]t is the intent of the Legislature that citizens

  be able to choose from all health care options, including the prevailing or conventional treatment




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  methods as well as other treatments designed to complement or substitute for the prevailing or

  conventional treatment methods.” Fla. Stat. Ann. §456.41(1).

          287.    Fla. Stat. Ann. §456.41 states that “[i]t is the intent of the Legislature that health

  care practitioners be able to offer complementary or alternative health care treatments.” Id.

          288.    “Complementary or alternative health care treatment means any treatment that is

  designed to provide patients with an effective option to the prevailing or conventional treatments

  methods.” Fla. Stat. Ann. §456.41(2)(a) (emphasis added).

          289.    If SOCE counseling is considered “complementary or alternative health care

  treatment,” Plaintiffs have a right to offer and their clients have a right to receive such counseling

  under Florida law.

          290.    Plaintiffs Dr. Otto and Dr. Hamilton desire to offer SOCE counseling in the City

  and County to those minor clients who desire such counseling and are seeking their expertise in

  engaging in such counseling.

          291.    Plaintiffs Dr. Otto and Dr. Hamilton comply with all requirements of Fla. Stat. Ann.

  §456.41(3), by providing all required information to their clients prior to engaging in SOCE

  counseling, and by obtaining informed consent from the client.

          292.    In the informed and best judgment of Plaintiffs Dr. Otto and Dr. Hamilton,

  voluntary SOCE counseling is in the best interest of those clients experiencing unwanted same-

  sex attractions, behaviors, or identity.

          293.    In the informed and best judgment of Plaintiffs’ clients, voluntary SOCE

  counseling is in their best interest.




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          294.    By prohibiting voluntary SOCE counseling, the Ordinance violates Plaintiffs Dr.

  Otto’s and Dr. Hamilton’s right to offer SOCE counseling in compliance with Fla. Stat. Ann.

  §381.026(d)(2) and Fla. Stat. Ann. §456.41.

          295.    By prohibiting voluntary SOCE counseling, the Ordinance violates Plaintiffs’

  clients’ right to receive SOCE counseling under Fla. Stat. Ann. §381.026(d)(3).

          296.    Plaintiffs’ clients have sincerely held religious beliefs that they should seek

  counseling to aid them in reducing or eliminating their unwanted same-sex attractions, behaviors,

  and identity, and Plaintiffs Dr. Otto and Dr. Hamilton have sincerely held religious beliefs that

  they should offer such counseling to those clients who seek such counseling to conform their

  attractions, behaviors, and identity to their sincerely held religious beliefs.

          297.    By prohibiting voluntary SOCE counseling, the Ordinance violates Plaintiffs’

  clients’ right to impartial access of medical treatment and accommodations based on their religious

  beliefs under Fla. Stat. Ann. §381.026(d)(1).

          WHEREFORE, Plaintiffs respectfully pray for the relief against Defendants as hereinafter

  set forth in their prayer for relief.

    COUNT VIII – THE CITY AND COUNTY ORDINANCES VIOLATE PLAINTIFFS’
     RIGHTS UNDER THE FLORIDA RELIGIOUS FREEDOM RESTORATION ACT

          298.    Plaintiffs hereby reiterate and adopt each and every allegation in paragraphs 1-182.

          299.    Fla. Stat. Ann. § 761.03 prohibits the government from substantially burdening a

  person’s exercise of religion, “even if the burden result from a rule of general applicability.” Fla.

  Stat. Ann. § 761.03(1).

          300.    If the government does burden an individual’s exercise of religion, it must

  demonstrate that “application of the burden to the person: (a) Is in furtherance of a compelling




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  government interest; and (b) Is the least restrictive mean of furthering that compelling government

  interest.” Fla. Stat. Ann. § 761.03(1)(a)-(b).

          301.    Any person whose religious beliefs were burdened by the government “may assert

  that violation as a claim or defense in a judicial proceeding.” Fla. Stat. Ann. § 761.03(2).

          302.    Plaintiffs and their clients have sincerely held religious beliefs that same-sex sexual

  attractions, behaviors, or identity are wrong, and they seek to resolve these conflicts between their

  religious beliefs and their attractions in favor of their religious beliefs.

          303.    Plaintiffs also have sincerely held religious beliefs to provide spiritual counsel and

  assistance to their clients who seek such counsel. Plaintiffs hold sincerely held religious beliefs

  that they should counsel clients on the subject matter of same-sex attractions, behaviors, or identity

  from a religious viewpoint that aligns with their religious beliefs and those of their clients.

          304.    The City and County Ordinances, on their face and as applied, target Plaintiffs’ and

  their clients’ sincerely held religious beliefs regarding human nature, gender, ethics, morality, and

  SOCE counseling, which are informed by the Bible and constitute central components of their

  faith. The Ordinances cause them a direct and immediate conflict with their religious beliefs by

  prohibiting them from offering, referring, and receiving counseling that is consistent with their

  religious beliefs.

          305.    The City and County Ordinances, on their face and as applied, have substantially

  and impermissibly burdened Plaintiffs’ and their clients’ sincerely held religious beliefs and

  compel them to both change those religious beliefs and to act in contradiction to them. The

  Ordinances have also forced Plaintiffs and their clients to choose between the teachings and

  requirements of their sincerely held religious beliefs and the value system imposed by the City and

  County.




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           306.      No compelling government interest justifies the burdens Defendants impose upon

  Plaintiffs and their clients’ rights to the free exercise of religion.

           307.      Even if the Ordinances were supported by a compelling government interest, they

  are not the least restrictive means to accomplish any permissible government purpose which the

  Ordinances seek to serve.

           308.      Plaintiffs have no adequate remedy at law to correct the continuing deprivation of

  their most cherished constitutional liberties.

           WHEREFORE, Plaintiffs respectfully pray for the relief against Defendants as hereinafter

  set forth in their prayer for relief

                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs pray for relief as follows:

      A.      That this Court issue a Preliminary Injunction enjoining Defendants, Defendants’

  officers, agents, employees, attorneys, and all other persons acting in active concert or participation

  with them, from enforcing the City and County Ordinances so that:

                    i.   Defendants will not use the City and County Ordinances in any manner to

                         infringe Plaintiffs’ constitutional and statutory rights in the counseling of their

                         clients or from offering a viewpoint on an otherwise permissible subject matter;

                   ii.   Defendants will not use the City and County Ordinances in any manner to

                         prohibit Plaintiffs from engaging in SOCE counseling with those minor clients

                         who seek such counseling;

                  iii.   Defendants will not use the City and County Ordinances to prohibit Plaintiffs’

                         clients from seeking or receiving SOCE counseling for unwanted same-sex

                         sexual attractions, behaviors, or identity; and




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               iv.   Defendants will not use the City and County Ordinances in any manner to punish

                     Plaintiffs or their clients for engaging, referring to, seeking, or receiving

                     voluntary SOCE counseling.

     B.      That this Court issue a Permanent Injunction enjoining Defendants, Defendants’

  officers, agents, employees, attorneys, and all other persons acting in active concert or participation

  with them, from enforcing the City and County Ordinances so that:

                i.   Defendants will not use the City and County Ordinances in any manner to

                     infringe Plaintiffs’ constitutional and statutory rights in the counseling of their

                     clients or from offering a viewpoint on an otherwise permissible subject matter;

               ii.   Defendants will not use the City and County Ordinances in any manner to

                     prohibit Plaintiffs from engaging in SOCE counseling with those minor clients

                     who seek such counseling;

              iii.   Defendants will not use the City and County Ordinances to prohibit Plaintiffs’

                     clients from seeking or receiving SOCE counseling for unwanted same-sex

                     sexual attractions, behaviors, or identity; and

               iv.   Defendants will not use the City and County Ordinances in any manner to punish

                     Plaintiffs or their clients for engaging, referring to, seeking, or receiving

                     voluntary SOCE counseling.

     C.      That this Court render a Declaratory Judgment declaring the City and County

  Ordinances and Defendants’ actions in applying the City and County Ordinances unconstitutional

  under the United States Constitution and Florida Constitution, and declaring that:




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                 i.   Defendants violated Plaintiffs’ and their clients’ right to freedom of speech by

                      prohibiting them from providing, referring to, seeking, or receiving information

                      concerning SOCE counseling;

              ii.     Defendants violated Plaintiffs’ and their clients’ right to free exercise of religion

                      by prohibiting Plaintiffs from providing, referring to, seeking, or receiving

                      information concerning SOCE counseling in accordance with their sincerely

                      held religious beliefs;

               iii.   Defendants acted without authority under Florida law and Article VIII, § 2(b) of

                      the Florida Constitution, and their ultra vires actions in adopting and approving

                      the City and County Ordinances were void ab initio such that the City and

                      County Ordinances are of no force and effect;

               iv.    Defendants violated Fla. Stat. Ann. §381.026(d)(3) by infringing Plaintiffs’ right

                      to offer, and their clients’ right to receive, available methods of treatment that

                      Plaintiffs and their clients believe are in their best interest;

                v.    Defendants violated Fla. Stat. Ann. §381.026(d)(1) by infringing Plaintiffs’

                      clients’ right to receive medical treatment regardless of their religious beliefs;

                      and

               vi.    Defendants violated Fla. Stat. Ann. § 763.01 by substantially burdening

                      Plaintiffs’ and their clients’ free exercise of religion, that Defendants had no

                      compelling interest in enacting the City and County Ordinances, and that the

                      Ordinances are not narrowly tailored to achieve any government interest.

      D.      That this Court award Plaintiffs nominal damages for the violation of Plaintiffs’

  constitutional rights.




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     E.      That this Court award Plaintiffs actual damages in an amount to be determined at trial;

     F.      That this Court adjudge, decree, and declare the rights and other legal relations with

  the subject matter here in controversy so that such declaration shall have the force and effect of

  final judgment;

     G.      That this Court retain jurisdiction of this matter for the purpose of enforcing this

  Court’s order;

     H.      That this Court award Plaintiffs the reasonable costs and expenses of this action,

  including attorney’s fees, in accordance with 42 U.S.C. § 1988.

     I.      That this Court grant such other and further relief as this Court deems equitable and

  just under the circumstances.

                                       /s/ Horatio G. Mihet
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